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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES CONFERENCE
OF CATHOLIC BISHOPS,
3211 Fourth Street, NE
Washington, DC 20017
                       Plaintiff,
v.
UNITED STATES DEPARTMENT OF STATE,
2201 C Street, NW
Washington, D.C. 20520;                                Case No. 1:25-cv-465-TNM

MARCO A. RUBIO, in his official capacity              AMENDED COMPLAINT
as Secretary of State, Department of State,           FOR DECLARATORY AND
2201 C Street, NW                                     INJUNCTIVE RELIEF
Washington, D.C. 20520;

BUREAU OF POPULATION, REFUGEES,
AND MIGRATION, Department of State,
2201 C Street, NW
Washington, D.C. 20520;

ADAM ZERBINOPOULOS, in his official
capacity as Senior Bureau Official, Bureau of
Population, Refugees, and Migration, Department
of State, 2201 C Street, NW
Washington, D.C. 20520;

UNITED STATES DEPARTMENT OF HEALTH
AND HUMAN SERVICES,
200 Independence Ave, SW
Washington, D.C. 20201;

ROBERT F. KENNEDY, JR., in his official
capacity as Secretary of Health and Human
Services, Department of Health and Human
Services, 200 Independence Ave, SW
Washington, D.C. 20201;

MELLISSA HARPER, in her official capacity as
Acting Director, Office of Refugee Resettlement,
Department of Health and Human Services, 200
Independence Ave, SW
Washington, D.C. 20201;
                          Defendants.
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                                       INTRODUCTION
          1.   For nearly 80 years, the Catholic Church has been caring for refugees within the

United States. Refugees face significant challenges upon entering the country, including locat-

ing housing, learning English, and finding employment. The Church has long helped to ease

those burdens and integrate refugees into American society by providing shelter, clothing, food,

and training. This work is an expression of charity taken in fulfillment of Christ’s command-

ment to serve those in need, regardless of their race, creed, or color.

          2.   Since 1980, the United States Conference of Catholic Bishops and its predeces-

sor organization, the U.S. Catholic Conference, (“USCCB” or the “Conference”) have expanded

that mission in partnership with the federal government through the U.S. Refugee Admissions

Program. It “is the historic policy of the United States to respond to the urgent needs of persons

subject to persecution in their homelands” by providing “transitional assistance to refugees in

the United States.” Refugee Act of 1980, Pub. L. No. 96-212, § 101, 94 Stat. 102, 102. The

federal government carries out this transitional assistance through the Bureau of Population,

Refugees, and Migration (“PRM”), which is a component of the Department of State. USCCB

has partnered with the federal government in this work for nearly half a century, under admin-

istrations of both parties and with the support of repeated and ongoing congressional appropri-

ations.

          3.   The beneficiaries of this cooperative partnership are refugees who are fleeing

persecution, instability, and oppression and have come to the United States as a place of refuge

and hope. These refugees are vetted and approved by the federal government before entering

the country and now are in the United States legally. Once here, they are entitled by statute to

receive federal funds for their initial period of resettlement—transitional support for no more

than their first 90 days in the United States, which is essential to helping them establish a new

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home. This transitional assistance promotes the successful settlement of refugees in their com-

munities, including by promoting gainful employment or connections to educational opportuni-

ties, thereby diminishing the likelihood that newly arriving refugees will be dependent on on-

going public support.

       4.      PRM funds these refugee resettlement programs through annual cooperative

agreements with organizations like USCCB. Under USCCB’s current cooperative agreements,

PRM committed to provide around $65 million in federal funding for the immediate physical

needs and integration of refugees into their new communities. In coordination with local Cath-

olic Charities and other subrecipients, USCCB uses these funds to care for thousands of refugees

in the United States. USCCB and its subrecipients provide food, shelter, job training, and Eng-

lish-language education in order to help refugees integrate and become self-sufficient as quickly

as possible. USCCB spends more on refugee resettlement each year than it receives in funding

from the federal government, but it cannot sustain its programs without the millions in federal

funding that provide the foundation of this private-public partnership.        For decades, the

U.S. government has chosen to admit refugees and outsourced its statutory responsibility to pro-

vide those refugees with resettlement assistance to non-profit organizations like USCCB. But

now, after refugees have already arrived and been placed in USCCB’s care, the government is

attempting to pull the rug out from under USCCB’s programs by halting funding.

       5.      On January 24, 2025, without prior notice, the State Department suspended fund-

ing for refugee resettlement nationwide by issuing suspension letters to its resettlement partners

(the “Refugee Funding Suspension”). USCCB received a cursory, two-page letter from PRM

notifying the organization that its cooperative agreements were immediately suspended. The

suspension letter’s only justifications were a reference to a recent Executive Order directing the



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suspension of funding for foreign aid and a vague suggestion that the awards may not be con-

sistent with the State Department’s priorities. Since the suspension, the State Department has

not made any payments to USCCB. Although the suspension letter purported to allow reim-

bursement for refugee-assistance work already completed before January 24, the State Depart-

ment has refused to reimburse USCCB for those expenses as well.

       6.      After litigation commenced, the State Department pivoted toward complete ter-

mination of the initial-resettlement program by canceling cooperative agreements with its reset-

tlement partners (the “Refugee Funding Termination” or “Termination”). On February 26,

2025, USCCB received two one-page letters from the State Department notifying it that its co-

operative agreements were terminated as of February 27, 2025. The letters stated that the awards

no longer effectuate agency priorities without explaining why. The Department also asserted

that it is not obligated to pay for the costs USCCB and its subrecipients incurred while the sus-

pension was in effect. Still, the State Department reiterated that it would reimburse USCCB for

refugee-assistance work completed before January 24th. But the Department to date has refused

to reimburse USCCB for any of its expenses.

       7.      The consequences of the Refugee Funding Suspension and Termination have

been predictably devastating for USCCB and the refugees it supports. At the time of the sus-

pension, there were more than 6,700 refugees assigned to USCCB by the government that were

still within their 90-day transition period. As of February 24, 2025, two days before the Termi-

nation issued, more than 5,000 refugees assigned to USCCB remained eligible for initial-reset-

tlement services. As a direct result of the suspension and termination, USCCB has millions of

dollars in pending, unpaid reimbursements for services already rendered to refugees and is ac-

cruing millions more each week—with no indication that any future reimbursements will be



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paid. USCCB has already been forced to initiate layoffs for fifty employees. It faces irreparable

damage to its longstanding refugee resettlement programs and its reputation and relationship

with its subrecipients and the refugee populations it serves. USCCB’s inability to reimburse its

partner organizations, in turn, has required some of those organizations to lay off staff and stop

providing aid for housing, food, and resettlement support to refugees. Refugees who have al-

ready entered the United States have been or may soon be cut off from support, contravening

the statutorily expressed will of Congress and making it more difficult for them to establish

themselves as productive members of society.

       8.      The government’s sudden Refugee Funding Suspension and subsequent Termi-

nation are unlawful. They violate multiple statutes, including the Administrative Procedure Act

(“APA”), and undermine the Constitution’s separation of powers.

       9.      First, the Refugee Funding Suspension and Termination contravene appropria-

tions-related statutes and flout the Constitution’s vesting of the power of the purse in Congress.

Congress has appropriated specific sums of money for refugee assistance and resettlement to

remain available until expended, and it has mandated that the government provide prompt and

adequate funding for the initial resettlement of refugees that the government has admitted and

assigned to agencies like USCCB. See 8 U.S.C. § 1522(a)–(b). Given the continuing availabil-

ity of appropriations, the Executive Branch cannot unilaterally and indefinitely refuse to fund

those statutorily mandated services. See Train v. City of New York, 420 U.S. 35, 41–44 (1975).

In addition, the Impoundment Control Act sets forth specific procedural and substantive require-

ments for Executive Branch attempts to delay or rescind spending of appropriated funds—re-

quirements that were not satisfied by the Refugee Funding Suspension and Termination.

2 U.S.C. § 684. The suspension and termination therefore exceed the government’s statutory



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authority. By ignoring Congress’s appropriations decisions, moreover, the suspension and ter-

mination undermine the Constitution’s separation of powers, which provides that Congress, not

the Executive Branch, decides how public funds shall be spent.

       10.     Second, the Refugee Funding Suspension and Termination are arbitrary and ca-

pricious. For the first time in forty-five years, and without warning, the government has cut off

funding to USCCB for the essential services USCCB provides to government-approved refu-

gees, including refugees already placed with USCCB and its subrecipients. In doing so, the

government entirely failed to consider and address the obvious and catastrophic consequences

that an immediate funding suspension or termination would impose on USCCB, its subrecipi-

ents, and individual refugees—let alone those parties’ significant, reasonable reliance interests

in continued funding. Nor did it consider the obvious, less-disruptive alternatives of either re-

viewing its outstanding agreements before halting funds to active awardees or continuing fund-

ing for refugees already present in the United States while winding down the program.

       11.     The reasons the government did provide for its actions only heighten the suspen-

sion’s and termination’s arbitrariness. Although the suspension letter mentioned in passing an

Executive Order pausing foreign aid, that Executive Order on its face does not apply to

USCCB’s cooperative agreements, which exclusively provide “domestic assistance” to govern-

ment-vetted refugees located in the United States. 8 U.S.C. § 1522(a)(3) (emphasis added).

And the suspension letter’s nebulous reference to the State Department’s policy priorities did

nothing to explain why USCCB’s agreements—suddenly after decades of continuity—might be

inconsistent with those priorities. The termination letters’ one-sentence “conclusion” that the




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awards are inconsistent with agency priorities did nothing to remedy that defect. The govern-

ment also has given no explanation for its tacit refusal to reimburse pre-January 24 expenses

under USCCB’s cooperative agreements.

       12.       Third, the Refugee Funding Suspension and Termination are unlawful because

they were implemented without public notice and opportunity to comment. 5 U.S.C. § 553. The

suspension and termination are legislative or substantive rules because they prospectively alter

the legal rights or interests of USCCB and thousands of refugees already present in the United

States. Yet the government did not provide notice to or solicit input from affected parties and

the public at large, as the APA requires.

       13.       The government’s suspension and termination of funds that USCCB spends on

initial refugee-resettlement services under its cooperative agreements with the State Department

are unlawful. This Court should declare Defendants’ actions unlawful and set them aside and

enjoin Defendants from implementing, enforcing, or otherwise giving effect to the Refugee

Funding Suspension, Termination, or similar actions so that USCCB’s vital work assisting law-

fully admitted refugees may continue.

                                            PARTIES
       14.       The United States Conference of Catholic Bishops is an American nonprofit cor-

poration whose members are the active Cardinals, Archbishops, and Bishops of the Catholic

Church in the United States and the U.S. Virgin Islands. USCCB is incorporated as a non-profit

and headquartered in the District of Columbia. USCCB provides refugee-resettlement services

to government-vetted refugees and special immigrant visa holders from Afghanistan within the

United States.

       15.       Defendant the Department of State is a department of the federal government. It

receives appropriations from Congress to administer refugee-resettlement programs authorized

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under the Migration and Refugee Assistance Act of 1962, Pub. L. No. 87-510, 76 Stat. 112

(1962), and the Refugee Act of 1980, Pub. L. No. 96-212, 94 Stat. 102 (1980).

          16.   Defendant Marco Rubio is the Secretary of State. In that role, he is responsible

for oversight of the Bureau of Population, Refugees, and Migration, which is responsible for

providing the cooperative-agreement awards to USCCB. Secretary Rubio is sued in his official

capacity.

          17.   Defendant Bureau of Population, Refugees, and Migration is a bureau within the

State Department. PRM has been delegated responsibility for entering into cooperative agree-

ments with private resettlement agencies, including USCCB, to implement the programs of ini-

tial resettlement for refugees and special immigrant visa holders. See 8 U.S.C. § 1522(b).

          18.   Defendant Adam Zerbinopoulos is the Senior Bureau Official of the Bureau of

Population, Refugees, and Migration. Upon information and belief, Mr. Zerbinopoulos is the

highest-ranking official at PRM with supervisory authority over the Bureau. Mr. Zerbinopoulos

is sued in his official capacity.

          19.   Defendant U.S. Department of Health and Human Services (“HHS”) is a depart-

ment of the federal government. HHS processes the government’s payments to USCCB pursu-

ant to the terms of its cooperative agreements.

          20.   Defendant Robert F. Kennedy, Jr., is the Secretary of HHS. Secretary Kennedy

is sued in his official capacity.

          21.   Defendant Mellissa Harper is the Acting Director of the Office of Refugee Re-

settlement, Department of Health and Human Services. Ms. Harper is sued in her official ca-

pacity.




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                                 JURISDICTION AND VENUE
        22.      This Court has jurisdiction over the claims alleged in this complaint under

 28 U.S.C. § 1331, because they arise under federal law, including the Administrative Procedure

 Act, 5 U.S.C. § 702.

        23.      Sovereign immunity has been waived under 5 U.S.C. § 702.

        24.      Venue lies in the District of Columbia because USCCB is incorporated and head-

 quartered in the District.    28 U.S.C. § 1391(e)(1)(C). Venue is also proper in this District

 because the State Department and HHS are also headquartered in Washington, D.C., and Secre-

 tary Rubio, Secretary Kennedy, Senior Bureau Official Zerbinopoulos, and Acting Director Har-

 per maintain their principal offices in Washington, D.C. Id. § 1391(e)(1)(A). On information

 and belief, Defendants’ decisions regarding PRM programming and USCCB funding have been

 made in the District of Columbia. Id. § 1391(e)(1)(B).

                                     STATEMENT OF FACTS
I.     USCCB Cared For Refugees In The United States For Decades Before It Partnered
       With The Government

        25.    The Catholic Church has cared for refugees since the earliest days of Christianity.

 See The U.S. Refugee Admissions Program and the Catholic Church, USCCB Off. of Pol’y &

 Advoc. (Jan. 26, 2025), https://perma.cc/D7FC-WKKL; Pope Pius XII, Apostolic Constitution,

 Exsul Familia Nazarethana (1952) (the Catholic Church is devoted to caring for refugees be-

 cause the Holy Family’s emigration to Egypt serves as “the archetype of every refugee family”).

 The “duty of giving foreigners a hospitable reception” is “imposed by human solidarity and by

 Christian    charity.”       Pope   Paul   VI,   Populorum   Progressio    (Mar.    26,   1967),

 https://perma.cc/N36H-3FSX. “Jesus Christ, loving everyone with a universal love, educates

 us in the permanent recognition of the dignity of every human being, without exception.” Letter



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of the Holy Father Francis to the Bishops of the United States of America (Feb. 10, 2025),

https://perma.cc/38MM-RR4Z.

        26.   In the United States specifically, the Church’s refugee-resettlement efforts long

predate its partnership with the federal government. The Church first coordinated large-scale

efforts to receive and integrate those displaced by World War II in dioceses across the United

States, and later welcomed hundreds of thousands of refugees fleeing communist persecution in

the Soviet Union, Hungary, Vietnam, and Cuba. See Catholic Ministries Serving Migrants and

Refugees, USCCB (last visited Feb. 14, 2025), https://perma.cc/ZSD8-879C.

        27.    Since 1965, USCCB has carried out this institutional mission in the United

States. USCCB does so not because the refugees are Catholic (many are not), “but because we

are Catholic.” Cardinal Blase J. Cupich, Setting the record straight, Chicago Catholic (Feb. 5,

2025), https://perma.cc/TZM6-VBZ4. In this way, USCCB discharges the mandate of the Gos-

pel: “I was hungry and you gave me food, I was thirsty and you gave me drink, a stranger and

you welcomed me.” Id. (quoting Matthew 25:35).

II.     Congress Has Required Funding For Resettlement Of Admitted Refugees For
        Decades

        28.    For more than sixty years, Congress likewise has recognized that refugee assis-

tance and resettlement is not just a moral imperative, but also is essential to this country’s inter-

ests. In 1962, in response to the increase of refugees fleeing communist countries, Congress

passed the Migration and Refugee Assistance Act, which authorized the appropriation of funds

to address “urgent refugee and migration needs.” Pub. L. No. 87-510, 76 Stat. 121, 122 (1962)




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(codified as amended at 22 U.S.C. § 2601(c)); see also Refugee Timeline, USCIS (last updated

Jan. 24, 2025), https://perma.cc/F8PM-H27V.

       29.     In 1980, Congress enacted the Refugee Act, Pub. L. No. 96-212, 94 Stat. 102

(1980) (codified at 8 U.S.C. § 1521 et seq.). That Act declared that “it is the historic policy of

the United States to respond to the urgent needs of persons subject to persecution in their home-

lands,” including through “efforts to promote opportunities for resettlement.” Refugee Act of

1980, § 101, 94 Stat. at 102. Consistent with that purpose, the Refugee Act of 1980 created a

statutory framework for the admission and resettlement of refugees known as the U.S. Refugee

Admissions Program.

       30.     Under the U.S. Refugee Admissions Program, individuals outside the United

States who have been persecuted or fear persecution on account of race, religion, nationality, or

certain other grounds can seek legal admission into the United States.             See 8 U.S.C.

§§ 1101(a)(42), 1157(c). Refugees are screened abroad for eligibility and admissibility—a rig-

orous process that involves security and biometric checks, interviews, and medical screening,

among other things. Refugee Processing and Security Screening, USCIS (last visited Feb. 14,

2025), https://perma.cc/4A8C-EQRZ. If approved as refugees, the individuals are admitted into

the United States. 8 U.S.C. §§ 1157(c)(1), 1181(c). The President determines the maximum

number of refugees to be admitted each fiscal year. Id. § 1157(a)(2), (3). Since 1990, around

65,000 refugees have been admitted per year on average. Off. of Homeland Sec. Stat., Dep’t of

Homeland Sec., Refugees: 2023, at 4 (Nov. 2024), https://perma.cc/8NAF-ST46.

       31.     A core component of the U.S. Refugee Admissions Program is federal funding

for “domestic assistance” for the resettlement of newly arrived refugees, in partnership with

private non-profit organizations. 8 U.S.C. § 1522. Rather than rely entirely on private charitable



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    organizations to provide resettlement assistance, Congress made it the “policy of the United

    States” to commit federal funds in order to “promote opportunities for [refugee] resettlement.”

    Refugee Act of 1980, § 101, 94 Stat. at 102.

            32.     Although refugee resettlement is multifaceted, the resettlement program at issue

    here is the “[p]rogram of initial resettlement.” 8 U.S.C. § 1522(b). Under that program, the

    Secretary of State has been designated by the President to “make grants to, and contracts with,

    public or private nonprofit agencies for initial resettlement . . . of refugees in the United States.”

    Id. § 1522(b)(1)(A), (B); see also HIAS, Inc. v. Trump, 985 F.3d 309, 319 n.5 (4th Cir. 2021)

    (“Since 1981, the Department of State has overseen the program.”). Congress has made the

    same funding available for special immigrant visa holders from Afghanistan—i.e., those who

    assisted the U.S. Mission in Afghanistan and fear reprisals as a result.1 See Afghan Allies Pro-

    tection Act, § 602(b)(8), Pub. L. No. 111-8, 123 Stat. 807, 809 (2009) (codified in the notes of

    8 U.S.C. § 1101).

            33.     The Secretary of State has charged PRM with administering the initial-resettle-

    ment program. PRM discharges that responsibility by entering into annual cooperative agree-

    ments with resettlement agencies. As of February 25, 2025, there were ten resettlement agen-

    cies, including USCCB. United States Refugee Admissions Program Flowchart, USCIS & Bu-

    reau of Population, Refugees, and Migration (Sept. 18, 2024), https://perma.cc/F5PJ-ZV3X.

    Under the cooperative agreements, PRM awards specific sums to each resettlement agency to

    reimburse expenses the agency incurs supporting refugees for up to the first 90 days they are in

    the United States. This funding covers critical services, such as housing, food, clothing, and




1
 For simplicity, this complaint refers to special immigrant visa holders and refugees collectively
as “refugees.”

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    assistance with access to social, medical, educational, and employment services. The State De-

    partment’s payments to USCCB under the cooperative agreements are made through the De-

    partment of Health and Human Services’ Payment Management System.

           34.     The government has a statutory obligation to provide adequate initial-resettle-

    ment funding for admitted refugees “to the extent of available appropriations.” 8 U.S.C.

    § 1522(a)(1)(A).2 In particular, and among other things, the agency “shall, to the extent of

    available appropriations”: (1) “make available sufficient resources for employment training and

    placement in order to achieve economic self-sufficiency among refugees as quickly as possible”;

    and (2) “provide refugees with the opportunity to acquire sufficient English language training

    to enable them to become effectively resettled as quickly as possible.” Id. (emphasis added).

           35.     Consistent with those statutory commands, State Department regulations provide

    that “[p]ayments for allowable costs” incurred by resettlement agencies “must not be with-

    held . . . unless required by Federal statute, regulations, or” if the “recipient or subrecipient has

    failed to comply with the terms and conditions of the Federal award” or is “delinquent in a debt.”

    2 C.F.R. § 200.305(b)(6) (OMB regulations incorporated by reference into the State Depart-

    ment’s federal award regulations at 2 C.F.R. § 600.101). The State Department must reimburse



2
  Although Section 1522(a) names the Director of the Office of Refugee Resettlement at the De-
partment of Health and Human Services, the Director’s statutory obligations with respect to initial
resettlement have been transferred by presidential designation to the Secretary of State (and dele-
gated to PRM) under Section 1522(b). See Letter from President Jimmy Carter to Speaker of the
House of Representatives, 3 Public Papers of President Carter 2879 (Jan. 13, 1981) (“In accordance
with Section 412(b)(1)(B) of the Refugee Act of 1980 . . . I have determined that the administration
of the Reception and Placement grants, awarded to resettlement agencies for the performance of
certain initial services for refugees coming to the United States, should be retained by the Depart-
ment of State.”). The Department of Health and Human Services and Secretary Kennedy are
named as defendants out of an abundance of caution, because HHS’s Payment Management Sys-
tem is used to make payments to USCCB. So too with Acting Director Harper, to the extent that
the government argues that she, not the Secretary of State, is responsible for providing initial re-
settlement assistance to refugees in USCCB’s care.

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its resettlement agencies for expenses incurred “within 30 calendar days after receipt of the

payment request[s].” Id. § 200.305(b)(3).

       36.     Similarly, the State Department must abide by certain regulations if it wishes to

end its relationship with a refugee-resettlement agency. See 2 C.F.R. § 200.340. For example,

the Department may terminate a cooperative agreement if it concludes that the “award no longer

effectuates the program goals or agency priorities,” but only if it does so “pursuant to the terms

and conditions” of the award and “to the extent authorized by law.” Id. § 200.340(a)(4).

       37.     For decades, on a bipartisan basis, Congress has consistently appropriated funds

for refugee resettlement. In 1985, for example, Congress appropriated $344,730,000 annually

to the State Department for “Migration and Refugee Assistance.” Foreign Relations Authoriza-

tion Act, Fiscal Years 1986 and 1987, Pub. L. No. 99-93, § 101, 99 Stat. 405, 407 (1985); see

also Foreign Relations Authorization Act, Fiscal Years 1994 and 1995, Pub. L. No. 103-236,

§ 104, 108 Stat. 382, 390 (1994) (appropriating about $590,000,000 for the same); Department

of State, Foreign Operations, and Related Programs Appropriations Act, 2015, Pub. L. No. 113-

235, 128 Stat. 2573, 2589 (2014) (appropriating $931,886,000 for the same); Additional Af-

ghanistan Supplemental Appropriations Act, 2022, Pub. L. No. 117-43, 135 Stat. 372, 375

(2021) (appropriating $415,000,000 for fiscal year 2022 to “address humanitarian needs in, and

to assist refugees from, Afghanistan”).

       38.     Congress’s most recent appropriations have been no different. In 2024, Congress

appropriated $3,928,000,000 to implement, among other things, “the Migration and Refugee

Assistance Act of 1962 . . . and other activities to meet refugee and migration needs.” Depart-

ment of State, Foreign Operations, and Related Programs Appropriations Act, 2024, Pub. L.




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No. 118-47, 138 Stat. 729, 744 (2024); see also, e.g., Additional Afghanistan Supplemental Ap-

propriations Act, 2022, 135 Stat. at 374–75 (appropriating $976,100,000 for special immigrant

visa holders from Afghanistan, among other things).

         39.   Independent of the statutory scheme requiring the government to adequately fund

initial resettlement for admitted refugees, Congress also has enacted the Impoundment Control

Act. See 2 U.S.C. § 681 et seq. That Act regulates the Executive Branch’s authority to “defer”

the spending of appropriated funds by imposing substantive limitations and procedural require-

ments. Id. § 684. Before the Executive Branch can defer the use of appropriated funds, the Act

requires the President to transmit a “special message” to both houses of Congress with specific

details about the proposed deferral, including the amount to be deferred, the deferral’s duration,

“the reasons for the proposed deferral,” and “the estimated fiscal, economic, and budgetary ef-

fect” it will have. Id. § 684(a). The Act also denies the Executive Branch any authority to defer

spending except for three specified reasons; it forbids deferrals based on policy disagreements

with Congress. Id. § 684(b). Moreover, the Act forbids the Executive Branch from “re-

scind[ing]” spending that Congress has authorized unless the President transmits a message to

Congress and Congress enacts a rescission bill. Id. § 683.

III.     USCCB’s Refugee-Resettlement Program And Cooperative Agreements

         40.   Each year since the enactment of the Refugee Act of 1980, USCCB has entered

into agreements with the federal government to provide initial-resettlement services for refu-

gees. USCCB receives and coordinates the distribution of PRM awards for initial resettlement

through its Migration & Refugee Service. USCCB partners with subrecipients, most of whom

are local Catholic Charities, across the United States to accomplish this work. These partners

are strategically chosen in concert with the State Department and state refugee coordinators to



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achieve goals such as partnering with subrecipients in locations that will facilitate family reuni-

fication efforts.

        41.     Today, USCCB runs the largest non-governmental refugee-resettlement program

in the United States.       Resettlement Services, USCCB (last visited Feb. 14, 2025),

https://perma.cc/2DPN-M47N. USCCB currently serves approximately 17% of refugees being

resettled in the United States. And since 1980, USCCB has provided refugee-resettlement ser-

vices to more than 930,000 refugees.

        42.     In providing this assistance, USCCB has consistently devoted more resources

than it receives in related federal funding. In 2023, for example, USCCB paid $4 million more

on its refugee-resettlement and related programs than it received from the federal government.

KPMG, United States Conference of Catholic Bishops and Affiliates: Consolidated Financial

Statements with Supplemental Schedules, December 31, 2023 and 2022, at 30 (Aug. 16, 2024),

https://perma.cc/59YQ-TH5L. And those numbers do not account for the additional cash, in-

kind contributions, or volunteer services provided by local Catholic Charities and other subre-

cipients.

        43.     For Fiscal Year 2025, USCCB entered into two cooperative agreements with

PRM awarding USCCB around $65 million for initial refugee resettlement. One of the agree-

ments covers refugees; the other covers refugees and special immigrant visa holders from Af-

ghanistan, who are treated like refugees for initial-resettlement purposes. In all other relevant

respects, the terms of the cooperative agreements are materially identical. Both cooperative

agreements run from October 1, 2024 to September 30, 2025.

        44.     Both cooperative agreements require USCCB to “[a]ssume responsibility for

sponsorship of the refugees assigned to” it “under this agreement.” On the day a refugee is



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admitted, USCCB must ensure that each refugee is met at the airport, transported to their home,

and provided a first meal as well as food and clothing for their immediate needs. USCCB also

must ensure that “refugees assigned to it” are provided the required home visits within 72 hours

of arrival, and that the housing provided to the refugees is safe, sanitary, and adequately fur-

nished. USCCB must then assist refugees with, among other things, applications for social se-

curity cards, health insurance and medical care, English-language programs, cultural orienta-

tion, and employment services during the first 90 days they are in the United States.

IV.    The President And Secretary Of State Issued Orders Suspending Foreign Aid and
       Refugee Admissions

        45.    Starting on January 20, 2025, both the President and the Secretary of State issued

orders suspending foreign aid and refugee admissions into the United States. But none of those

orders expressly suspends funding for the resettlement of admitted refugees.

        46.    On January 20, President Trump signed an executive order titled “Reevaluating

and Realigning United States Foreign Aid.” Exec. Order No. 14,169, 90 Fed. Reg. 8619

(Jan. 20, 2025) (“Foreign Aid Executive Order”). The Foreign Aid Executive Order directs

relevant Executive Branch officials to institute a “90-day pause in United States foreign devel-

opment assistance” pending review for programmatic efficiency and policy alignment, subject

to waivers authorized by the Secretary of State for specific programs. Id. § 3(a). On the same

day, President Trump signed an executive order titled “Realigning the United States Refugee

Admissions Program.” Exec. Order No. 14,163, 90 Fed. Reg. 8459 (Jan. 20, 2025) (“Refugee

Executive Order”). The Refugee Executive Order suspends the entry of new refugees into the

United States with narrow exceptions.

        47.    On January 24, Secretary of State Rubio issued an order to all State Department

diplomatic and consular posts stating that “[c]onsistent with” the Foreign Aid Executive Order,


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“all new obligations of funding . . . for foreign assistance programs funded by or through the

Department and USAID” would be paused “pending a review.” Memorandum from Secretary

of State to All Diplomatic and Consular Posts, Dep’t of State (Jan. 24, 2025),

https://perma.cc/J26T-VCJR (“Rubio Memo”). The Rubio Memo instructed that for “existing

foreign assistance awards, contracting officers and grant officers shall immediately issue stop-

work orders, consistent with the terms of the relevant award, until such time as the Secretary

shall determine, following a review.” Id. The Rubio Memo also provided for waivers for lim-

ited circumstances. Id.

V.    The Government Abruptly Suspended Funding For Refugee Resettlement

       48.     Although none of the President’s or Secretary of State’s orders mentions (let

alone pauses) funding for the resettlement of refugees already admitted into the United States,

the State Department decided suddenly to suspend refugee-resettlement funding as well (the

“Refugee Funding Suspension”).

       49.     On January 24, on information and belief, PRM sent materially identical suspen-

sion letters to its resettlement agencies, including USCCB. See, e.g., Complaint ¶¶ 196–97,

Pacito v. Trump, No. 2:25-cv-255 (W.D. Wash. Feb. 10, 2025).

       50.     The two-page suspension letter USCCB received stated that “consistent with”

the Foreign Aid Executive Order, awards pursuant to USCCB’s cooperative agreements with

the State Department were “immediately suspended as of January 24, 2025” “pending a Depart-

ment-wide review of foreign assistance programs.” Ex. A (“Suspension Letter”). The suspen-

sion letter instructed that immediately upon receipt, USCCB “must stop all work under the

award(s) and not incur any new costs after” January 24 and “cancel as many outstanding obli-

gations as possible.” Id.



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       51.     The suspension letter provided only two perfunctory reasons for the sudden sus-

pension. First, the order stated that the suspension was “[c]onsistent with the President’s Exec-

utive Order on Reevaluating and Realigning United States Foreign Aid,” without addressing

how domestic refugee resettlement constitutes foreign aid. Id. Second, the letter stated that the

award to USCCB “may no longer effectuate agency priorities,” without addressing what the

agency’s priorities are or why the awards may no longer effectuate those priorities. Id. The

letter did not explain why the government had elected to suspend funding pending its reevalua-

tion of priorities rather than conduct that review before cutting off funding midstream.

       52.     The suspension letter also stated that USCCB could “submit payment requests

for legitimate expenses incurred prior to the date of” the letter “or legitimate expenses associated

with the” funding suspension. Id. But the government has thus far refused to reimburse USCCB

for more than $13 million in reimbursement funds for initial-resettlement services rendered be-

fore January 24.

       53.     On January 28, USCCB responded to PRM. USCCB explained that its resettle-

ment program services “includ[e] the provision of housing support, emergency food assistance,

and emergency medical care to newly arrived refugees and Special Immigrant Visa (“SIV”)

holders who have been processed and approved for resettlement in the United States by the

federal government.” Ex. B. USCCB urged that its programs were consistent with the “Ad-

ministration’s goals to make the United States safer and stronger, as it operates domestically to

ensure that newly arrived refugees and SIV holders are able to integrate successfully into local

communities.” Id. USCCB also explained that it did not understand their awards to represent




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“new costs” and that the organization is entitled to reimbursement for all costs for serving “ref-

ugees and SIV holders in their initial 90-day . . . service periods.” Id. USCCB also inquired

about “legitimate expenses” it incurred before January 24, 2025. Id.

        54.    On January 31, 2025, in providing an update about payment requests, PRM stated

that the suspension was issued in order to “compl[y] with the [Foreign Aid] Executive Order.”

Ex. C. PRM also directed USCCB to “abide by the notice of suspension issued to [the] organi-

zation.” Id.

VI.    The Government Terminated Its Partnerships For Refugee Resettlement

        55.    USCCB filed suit against the Defendants on February 18, 2024 and sought a

temporary restraining order and a preliminary injunction. See Complaint, ECF No. 1; Motion

for Temporary Restraining and Preliminary Injunction, ECF No. 5. This Court denied USCCB’s

motion for a temporary restraining order and scheduled a hearing to adjudicate USCCB’s motion

for a preliminary injunction. ECF No. 15.

        56.    While the litigation was ongoing, the State Department purported to terminate

the initial-resettlement program. On February 26, 2025, two days before the preliminary in-

junction hearing, the State Department issued two notices of termination to USCCB, cancelling

its cooperative agreements to provide initial-resettlement services to the refugees the govern-

ment assigned to USCCB.

        57.    On information and belief, the State Department sent materially identical termi-

nation notices to its other resettlement agencies. See, e.g., Plaintiffs’ Motion for Emergency

Conference or Show Cause Hearing at 1–2, Pacito v. Trump, No. 2:25-cv-255 (W.D. Wash. Feb.

27, 2025) (describing HIAS, Inc.’s and Church World Service, Inc.’s termination letters).

        58.    The one-page letters USCCB received stated that the awards were “immediately

terminated as of February 27, 2025.” Ex. D; Ex. E (“Termination Letters”). Like the suspension

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letter, the termination letters instructed that immediately upon receipt, USCCB “must stop all

work on the program and not incur any new costs” after February 27 and “cancel as many out-

standing obligations as possible.” Ex. D; Ex. E.

       59.     The termination letters provided a single reason for the termination—that the

cooperative agreements “no longer effectuate[] agency priorities.” Ex. D; Ex. E. The letters

did not address what the State Department’s priorities are or why the awards no longer effectuate

those priorities. Ex. D; Ex. E. The letters did not explain why the government elected to cut

off its relationship with USCCB “immediately” rather than giving USCCB a 90-day notice of

impending termination to allow the refugees assigned to USCCB’s care to graduate from the

program. Ex. D; Ex. E.

       60.     The termination letters also revealed that the State Department views any initial-

resettlement services USCCB provided to refugees between January 24 and February 27 as “new

costs.” The termination letters stated that if USCCB’s awards were “already in suspended sta-

tus,” only “payment requests for legitimate costs incurred prior to the effective date of the Notice

of Suspension are allowable.” Ex. D; Ex. E. The termination letters thereby assumed that the

suspension letter operated to render post-January 24 expenses non-reimbursable.

       61.     The termination letters repeated the State Department’s promise that “[p]ayment

requests for legitimate costs incurred prior to this notification are allowable.” Ex. D; Ex. E. But

the government has thus far refused to reimburse USCCB for more than $13 million in reim-

bursement funds for initial-resettlement services rendered before January 24.

VII. The Refugee Funding Suspension Has Inflicted Swift And Irreparable Harm

       62.     On January 25, 2025, the day after USCCB received the suspension letter, there

were 6,758 refugees that had been assigned by the federal government to USCCB’s care and

who had been in the United States for 90 days or less. As of February 24, 2025, two days before

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USCCB received the termination letters, more than 5,000 refugees assigned to USCCB’s care

remained eligible for initial-resettlement services.

       63.     In the ordinary course, USCCB receives subrecipient reimbursement requests for

refugee-resettlement services rendered. USCCB then pays its subrecipients for the refugee-

resettlement services provided pursuant to the cooperative agreements and pays its own admin-

istrative costs, operating costs, and the salaries of resettlement staff provided for in the agree-

ments. Then, USCCB submits reimbursement requests for those costs to PRM’s grants office.

Those funds are typically available to USCCB within 24 to 48 hours.

       64.     As a result of the Refugee Funding Suspension and Termination, however,

USCCB has not been reimbursed for services provided to the thousands of refugees that have

been assigned to it. USCCB has not been paid for services provided as far back as November

2024, or for services rendered after January 24 to the refugees already allocated to USCCB’s

care for their initial-resettlement period. USCCB is currently awaiting approximately $13 mil-

lion of unpaid reimbursements and currently owes an additional $11.4 million to its subrecipi-

ents that it is unable to reimburse. These numbers will continue to rise by millions of dollars

every week that the Refugee Funding Suspension and Termination remain in effect.

       65.     The consequences of that funding shortfall have been predictably devastating.

As a result of that shortfall, on February 7, USCCB was forced to give four-weeks’ notice of

planned termination to 50 staff members in its Migration & Refugee Services office, more than

half of its refugee-resettlement staff. Those staff members have accumulated expertise with

USCCB’s programs, partners, and the refugees USCCB serves; losing them will negatively af-

fect USCCB’s ability to provide refugee resettlement services in the future.




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       66.     Likewise, USCCB cannot sustain the current scale of its refugee resettlement

services without federal funding. The fact that federal funding is integral to USCCB’s resettle-

ment services is a direct result of congressional decisions about the design of the program and

the appropriations directed to it. And the termination of USCCB’s partnership with the govern-

ment, the first termination in USCCB’s decades-long relationship with the State Department,

will cause long-term, potentially catastrophic consequences to USCCB’s programs. Even if the

State Department later decides to reinstate the program, the substantial financial risk of partner-

ing with the government to provide these services is too high if reimbursements can be arbitrar-

ily and unlawfully suspended or terminated; USCCB’s local partners will be unwilling to work

with USCCB on such programs. As a result, USCCB faces irreparable harm to its mission to

care for vulnerable refugee populations in the United States.

       67.     USCCB also faces reputational harm as an employer and as a provider of refugee

resettlement services. The Refugee Funding Suspension and Termination have caused irrepa-

rable harm to USCCB’s reputation and relationships with its subrecipients, who have stopped

receiving payments from USCCB despite expecting their ordinary-course reimbursements.

USCCB’s inability to meet its subrecipients’ expectations will harm those relationships and

make it less likely that subrecipients will be willing to rely on and partner with USCCB in ful-

filling refugee-assistance cooperative agreements—or other programs—in the future. The rep-

utational harm and staff reductions suffered by USCCB’s subrecipients will also make it more

difficult to partner with those organizations going forward.

       68.     The Refugee Funding Suspension and Termination also have caused irreparable

harm to the refugees in USCCB’s care, who rely on the resettlement program’s material assis-

tance, language education, and job training in their first 90 days in this country. Several of



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USCCB’s subrecipients have been forced to stop providing resettlement services for the refu-

gees in their care. With each day that passes while the suspension and termination are in effect,

more refugees are at risk of losing their new homes and losing access to the vital cash assistance,

English-language programs, and employment assistance they need to successfully integrate into

their newfound communities.

       69.     The Refugee Funding Suspension and Termination also harm the public interest.

USCCB and its subgrantees provide essential services to vulnerable, new members of American

society who have entered this country legally after being thoroughly vetted by multiple federal

agencies. The services provided by USCCB and its subrecipients successfully integrate refugees

into communities and enable refugees to be self-sufficient, consistent with congressional direc-

tives. See, e.g., 8 U.S.C. § 1522(a)–(b). And the results bear out Congress’s judgment. When

so integrated, refugees have a significant, positive impact on society and the U.S. economy:

From 2005 to 2019, for example, refugees served by the Department of Health and Human

Service’s Office of Refugee Resettlement yielded a net positive fiscal impact of $123.8 billion

and generated $581 billion in revenue for state and federal governments. See Off. of Assistant

Sec’y for Plan. & Evaluation, U.S. Dep’t of Health & Hum. Servs., The Fiscal Impact of Refu-

gees and Asylees at the Federal, State, and Local Levels from 2005 to 2019, at 4 (Feb. 2024),

https://perma.cc/Y95E-QLWS. And Congress’s passage of the Migration and Refugee Assis-

tance Act of 1962, the Refugee Act of 1980, and the decades-worth of consistent and meaningful

appropriations for refugee resettlement express the wise judgment of multiple Congresses and

Presidents that providing refugee resettlement services is in the public interest.




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                                       COUNT I
              Administrative Procedure Act and Equitable Cause of Action
                        (Violations of Appropriations Statutes)

       70.        Plaintiff incorporates the preceding paragraphs by reference.

       71.        The APA authorizes this Court to hold unlawful and set aside agency action that

is “contrary to constitutional right, power, privilege, or immunity,” “in excess of statutory juris-

diction, authority, or limitations, or short of statutory right,” or “without observance of proce-

dure required by law.” 5 U.S.C. § 706(2)(B)–(D).

       72.        The Refugee Funding Suspension and Termination undermine the Constitution’s

separation of powers, contravene statutes requiring the government to provide certain forms of

refugee assistance to the extent of available appropriations, and violate the Impoundment Con-

trol Act’s substantive and procedural requirements.

       73.        The Constitution vests the power of the purse in Congress. The Appropriations

Clause and Article I ensure “that public funds will be spent according to the letter of the difficult

judgments reached by Congress as to the common good and not according to the individual

favor of Government agents.” Off. of Pers. Mgmt. v. Richmond, 496 U.S. 414, 427–28 (1990)

(emphasis added). “If it were otherwise, the executive would possess an unbounded power over

the public purse of the nation; and might apply all its moneyed resources at his pleasure.” Id. at

427 (quoting Joseph Story, 2 Commentaries on the Constitution of the United States § 1348

(3d ed. 1858)).

       74.        Those principles apply with equal force when the Executive Branch refuses to

spend money that Congress has appropriated for specific purposes. In those circumstances, the

“practical effect” of Executive impoundments is to unilaterally negate appropriations statutes,

contravening the “‘finely wrought’ procedure that the Framers designed” for the enactment or



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repeal of a law. Clinton v. City of New York, 524 U.S. 417, 438–40 (1998). That is why “where

previously appropriated money is available for an agency to perform a statutorily mandated

activity,” there is “no basis for a court to excuse the agency from that statutory mandate.” In re

Aiken County, 725 F.3d 255, 260 (D.C. Cir. 2013).

       75.     When the Executive Branch ignores Congress’s instructions with respect to ap-

propriations, it arrogates to itself Congress’s power of the purse. That threatens to concentrate

“power in the hands of a single branch” at grave risk to individual liberty, which is “always at

stake when one or more of the branches seek to transgress the separation of powers.” Clinton,

524 U.S. at 450 (Kennedy, J., concurring). The Executive’s power therefore is at its “lowest

ebb” when it defies Congress’s appropriations laws. Youngstown Sheet & Tube Co. v. Sawyer,

343 U.S. 579, 637 (1952) (Jackson, J., concurring).

       76.     Here, Congress has imposed (with the President’s assent) two independent re-

strictions on the Executive Branch’s ability to suspend or terminate funding for refugee reset-

tlement: First, it has enacted a statute mandating that the State Department spend available

appropriations on certain forms of assistance for refugees it has admitted; and, second, it has

enacted the Impoundment Control Act, which permits the Executive Branch to defer spending

appropriated funds only for particular reasons and after complying with specific procedures.

The government has defied both of those congressional commands.

       77.     First, the Refugee Funding Suspension and Termination contravene Congress’s

command that in administering the initial-resettlement program, the government must promptly

provide certain services to admitted refugees. The Immigration and Nationality Act, as amended

by the Refugee Act of 1980, provides that once the government chooses to admit refugees into




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the United States, the Secretary must provide funding to those refugees “to the extent of availa-

ble appropriations.” 8 U.S.C. § 1522(a)(1)(A) (emphasis added). Among other things, the Sec-

retary “shall” make available “as quickly as possible” “sufficient resources for employment

training” and for “sufficient English language training.” Id. (emphasis added).

       78.     Here, the government has chosen to admit refugees into the United States.

8 U.S.C. § 1522(a)(1)(A). At the time of the Refugee Funding Suspension, it had assigned

nearly 7,000 refugees to USCCB who had been in the United States for 90 days or less. The

government therefore has an obligation to make available funding for resettling those refugees

“as quickly as possible” and “to the extent of available appropriations.” Id.

       79.     The government has made no suggestion that the funds Congress appropriated to

support this program have been exhausted. Last year alone, Congress appropriated $3.9 billion

to the State Department for, among other things, “migration and refugee assistance.” Depart-

ment of State, Foreign Operations, and Related Programs Appropriations Act, 2024, 138 Stat.

at 744; see also Additional Afghanistan Supplemental Appropriations Act, 2022, 135 Stat. at

375 (appropriating an additional $976,100,000 for special immigrant visa holders from Afghan-

istan, among other things). Nor has it suggested that it is providing the statutorily mandated

initial-resettlement services to the refugees in USCCB’s care through other means. Yet the

government, through the Refugee Funding Suspension and Termination, is indefinitely refusing

to spend that money, even though Congress has commanded that it do so for statutorily man-

dated purposes—including providing employment and English training to refugees already

placed with USCCB. See 8 U.S.C. § 1522(a)(1)(A). The government instead has left USCCB

and its assigned refugees to fend for themselves. The Refugee Act of 1980 simply does not give




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the government “discretionary control over the outlay of funds” that Congress not only has ap-

propriated for these specific purposes but also mandated that the government spend for those

same purposes. Train, 420 U.S. at 45.

       80.      Second, the Refugee Funding Suspension and Termination are independently un-

lawful because they violate the Impoundment Control Act. That Act limits the authority of the

Executive Branch “to defer any budget authority provided for a specific purpose or project.” 2

U.S.C. § 684(a). It defines a “deferral of budget authority” broadly to include “withholding or

delaying the obligation or expenditure of budget authority . . . provided for projects or activi-

ties,” or “any other type of Executive action or inaction which effectively precludes the obliga-

tion or expenditure of budget authority.” Id. § 682(1) (emphasis added); see Matter of Henry

M. Jackson, U.S. Senate, B-200685, 1980 WL 14499, at *1 (Comp. Gen. Dec. 23, 1980) (“[A]ny

executive branch action or inaction whether based on programmatic, budgetary, or other factors,

is potentially subject to the Impoundment Control Act if it precludes or delays, the use of budget

authority.”).

       81.      The Impoundment Control Act establishes procedural requirements for deferring

or rescinding budget activities required by Congress. If an agency intends to temporarily or

permanently defer spending money that it has been appropriated, “the President shall transmit”

a special message to Congress specifying, among other things, how much budget authority he

wishes to defer and for how long, the specific projects or governmental functions involved, his

reasons and legal authority for doing so, and the “fiscal, economic, and budgetary effect of the

proposed deferral.” 2 U.S.C. § 684(a). Similarly, if the President wishes to “rescind[]” budg-




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etary authority—“terminat[ing] . . . authorized projects or activities for which budgetary author-

ity has been provided”—he must submit a special message to Congress explaining and justifying

his proposal. Id. § 683(a).

       82.     The Impoundment Control Act also imposes substantive limits on the Executive

Branch’s authority to defer or rescind budget authority. “Deferrals shall be permissible only”

to “(1) provide for contingencies; (2) to achieve savings made possible by or through changes

in requirements or greater efficiency of operations; or (3) as specifically provided by law.” Id.

§ 684(b) (emphasis added). “No officer or employee of the United States may defer any budget

authority for any other purpose”—including based on policy disagreements. Id. As the D.C.

Circuit has explained, a “President sometimes has policy reasons (as distinct from constitutional

reasons) . . . for wanting to spend less than the full amount appropriated by Congress for a par-

ticular project or program.” In re Aiken County, 725 F.3d at 261 n.1. “But in those circum-

stances, even the President does not have unilateral authority to refuse to spend the funds.” Id.

“Instead, the President must propose the rescission of funds” under the Impoundment Control

Act, “and Congress then may decide whether to approve a rescission bill.” Id. If Congress does

not enact a rescission bill, the funds must be “made available.” 2 U.S.C. § 683(b).

       83.     Here, the Refugee Funding Suspension and Termination effect a “deferral of

budget authority” within the meaning of the Impoundment Control Act. The suspension indef-

initely halts—and the termination defers or rescinds—the disbursement of millions in funds that

Congress appropriated to the government for refugee assistance and the government committed

to expending through cooperative agreements with USCCB. Despite Congress’s specific ap-

propriation of funds for refugee assistance, the government seeks categorically not to spend

those funds. That is unquestionably a “delay[]” in the “expenditure of budget authority” or an



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“action” that “effectively precludes the . . . expenditure of budget authority” under the Impound-

ment Control Act. 2 U.S.C. § 682(1); see also New York v. Trump, 2025 WL 357368, at *2

(D.R.I. Jan. 31, 2025) (Executive Branch’s indefinite pause of all federal financial assistance

likely violates the Impoundment Control Act). It also constitutes the “termination of authorized

projects or activities for which budget authority has been provided.” 2 U.S.C. § 683(a).

       84.     The Refugee Funding Suspension’s and Termination’s deferral and rescission of

budget authority violates the Impoundment Control Act’s procedural requirements by ignoring

them altogether. There is no indication that the President has transmitted to Congress any spe-

cial message explaining and justifying the deferral or rescission of budgetary authority effected

by the Refugee Funding Suspension and Termination, as the Act requires. See 2 U.S.C.

§§ 683(a), 684(a). The Act’s procedural requirements would have forced the government to

consider and explain the consequences of its sudden funding suspension or termination before

acting. The government’s failure to do so violates the Act.

       85.     The Refugee Funding Suspension and Termination also run afoul of the substan-

tive limitations imposed by the Act. USCCB’s suspension letter states that the government is

deferring spending because the awards “may no longer effectuate agency priorities.” Ex. A,

Suspension Letter, supra. USCCB’s termination letters purport to make a definitive conclusion

to that effect. Ex. D, Ex. E, Termination Letters, supra. To the extent that rationale has any

discernable meaning at all, it expresses nothing more than a pure policy disagreement. As the

D.C. Circuit has recognized, such policy disagreements fall outside the Act’s three enumerated

categories of permissible deferrals. 2 U.S.C. § 684(b)(1)–(3); In re Aiken County, 725 F.3d at




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261 n.1 (“[I]n those circumstances, even the President does not have unilateral authority to re-

fuse to spend the funds”). And because Congress has not enacted a rescission bill, the Impound-

ment Control Act forbids the termination. 2 U.S.C. § 683(b).

       86.     The Refugee Funding Suspension and Termination thus violate both the Refugee

Act of 1980 and its related appropriations statutes, and the Impoundment Control Act—all in

contravention of the Constitution’s separation of powers. To the extent that the government

might argue that the Foreign Aid Executive Order or the Rubio Memo independently justify or

require the Refugee Funding Suspension or Termination, those actions are unlawful for the same

reasons.

       87.     The Refugee Funding Suspension and Termination, including the suspension of

reimbursements for pre-January 24 expenses and for ongoing expenses that USCCB incurs in

implementing the refugee-resettlement program under Section 1522, should be declared unlaw-

ful and set aside, as should the Rubio Memo to the extent it applies to USCCB. See 5 U.S.C.

§§ 702, 706. Defendants and all persons acting in concert with them should be enjoined from

enforcing, implementing, or in any manner giving effect to the Refugee Funding Suspension

and Termination—and, to the extent they apply to USCCB, the Foreign Aid Executive Order

and Rubio Memo. See 5 U.S.C. § 705; Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320,

327 (2015) (recognizing equitable cause of action to enjoin “violations of federal law by federal

officials”); Am. Sch. of Magnetic Healing v. McAnnulty, 187 U.S. 94, 110 (1902).

                                       COUNT II
                              Administrative Procedure Act
                         (Arbitrary and Capricious Agency Action)

       88.     Plaintiff incorporates the preceding paragraphs by reference.




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       89.     The Administrative Procedure Act authorizes this Court to hold unlawful and set

aside agency action that is “arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law.” 5 U.S.C. § 706(2)(A).

       90.     The APA requires agency action to be “reasonable and reasonably explained.”

Ohio v. Env’t Prot. Agency, 603 U.S. 279, 292 (2024) (quotation marks omitted). Agency action

is arbitrary and capricious “if the agency has relied on factors which Congress has not intended

it to consider, entirely failed to consider an important aspect of the problem, offered an expla-

nation for its decision that runs counter to the evidence before the agency, or is so implausible

that it could not be ascribed to a difference in view or the product of agency expertise.” Motor

Vehicle Mfrs. Ass’n of the U.S., Inc. v. State Farm Mutual Auto. Ins. Co., 463 U.S. 29, 43 (1983).

       91.     Among the most important factors that an agency must consider are “serious re-

liance interests” engendered by its prior policies and significant alternatives to its chosen course

of action. Dep’t of Homeland Sec. v. Regents of the Univ. of Cal., 591 U.S. 1, 30 (2020) (reliance

interests); Allied Local & Reg’l Mfrs. Caucus v. Env’t Prot. Agency, 215 F.3d 61, 80 (D.C. Cir.

2000) (alternatives).

       92.     The Refugee Funding Suspension and Termination are textbook arbitrary-and-

capricious agency actions. The government utterly failed to consider the dire consequences of

its actions and obvious, superior alternatives; it gave no reasoned explanation for its decisions;

and it ignored its own regulations.

       93.     First, the government “entirely failed to consider . . . important aspect[s] of the

problem.” State Farm, 463 U.S. at 43. Most glaringly, the government did not account for the

obvious and serious consequences that an immediate funding suspension or termination would

have on award recipients like USCCB, its subrecipients, and individual refugees—including



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irreparable damage to USCCB’s reputation, relationships, and mission, and to refugees who lose

essential services and training during the critical first months of their resettlement periods. The

government made no effort whatsoever to identify (let alone weigh) the costs and benefits of its

blunderbuss Refugee Funding Suspension and Termination—and tellingly could provide no ex-

planation even after USCCB raised these issues with PRM post suspension.

       94.     In so failing, the government also ignored the substantial, reasonable reliance

interests imperiled by a sudden suspension or termination of refugee-assistance awards. Re-

gents, 591 U.S. at 30 (“When an agency changes course . . . it must be cognizant that longstand-

ing policies may have engendered serious reliance interests that must be taken into account.”

(quotation marks omitted)); see also Fed. Commc’ns Comm’n v. Fox Television Stations, Inc.,

556 U.S. 502, 515–16 (2009).

       95.     For decades, USCCB has reasonably relied on awards from the government un-

der the terms of its cooperative agreements. USCCB has entered into cooperative agreements

with and received reimbursement from the government every year since 1980, and never—not

until the Refugee Funding Suspension—has the government halted funding mid-agreement.

USCCB fulfills its obligations under the agreements to provide high-quality, essential resettle-

ment assistance to thousands of refugees; and it reasonably expects in return, based on past

experience and the terms of the agreements, that the government will meet its statutory funding

obligations.

       96.     By abruptly cutting off funding without notice, the government predictably evis-

cerated USCCB’s serious reliance interests. USCCB has about $13 million (and growing) of

unreimbursed costs that it incurred prior to the Refugee Funding Suspension in reliance on its

cooperative agreements and owes an additional $11.4 million to its subrecipients for services



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rendered, $9.8 million of which is for services rendered prior to the Suspension. Because of the

Refugee Funding Suspension, USCCB on February 7 had no choice but to notify 50 employ-

ees—more than half of its refugee resettlement staff—of impending termination. All of those

employees relied on continued funding under USCCB’s cooperative agreements. Moreover,

USCCB already has had to stop reimbursing its subrecipients providing direct services to refu-

gees, causing those organizations to go unpaid despite their reliance on the State Department’s

compliance with its funding obligations. And most disheartening, lawfully admitted refugees

who resettled in this country relying on the Department’s promise to aid their integration have

lost—and more will soon lose—the essential services provided to them by USCCB and its sub-

recipients. The Termination has cemented that these harms are going to continue.

       97.     The APA “required” the government—before taking action—“to assess whether

there were reliance interests, determine whether they were significant, and weigh any such in-

terests against competing policy concerns.” Regents, 591 U.S. at 33.

       98.     The government also failed to consider several obvious, less disruptive “alterna-

tive way[s] of achieving [its] objectives.” State Farm, 463 U.S. at 48. First, before issuing the

Suspension, the State Department could have conducted a review of its outstanding cooperative

agreements to ensure their compliance with agency priorities before halting funds to active

awardees. The government has “not offered any explanation for why a blanket suspension of

all congressionally appropriated foreign aid, which set off a shockwave and upended reliance

interests for thousands of businesses, nonprofits, and organizations around the country, was a

rational precursor to reviewing the programs.” AIDS Vaccine Advoc. Coal. v. Dep’t of State,

2025 WL 485324, at *5 (D.D.C. Feb. 13, 2025). Indeed, there is no indication that the govern-

ment considered this alternative, and it certainly did not explain itself. That glaring failure also



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dooms the Refugee Funding Suspension. Yakima Valley Cablevision, Inc. v. Fed. Commc’ns

Comm’n, 794 F.2d 737, 746 n.36 (D.C. Cir. 1986) (“The failure of an agency to consider obvious

alternatives has led uniformly to reversal.”).

       99.     The government also failed to consider an obvious, less disruptive alternative to

the Refugee Funding Termination—namely, terminating USCCB’s awards prospectively only

while allowing USCCB to provide services to the refugees already in its care until the end of

their initial 90-day periods and to conduct an orderly wind down of their resettlement programs.

As with the suspension, the government has “not offered any explanation” for why the termina-

tions needed to occur immediately. AIDS Vaccine Advoc. Coal., 2025 WL 485324, at *5. The

government’s failure to consider the devastation the abrupt terminations would cause was arbi-

trary and capricious. See Yakima Valley Cablevision, Inc., 794 F.2d at 746 n.36.

       100.    Second, the Refugee Funding Suspension and Termination are arbitrary and ca-

pricious because the reasons the government did provide are manifestly inadequate.

       101.    The government’s first rationale for the Refugee Funding Suspension was that it

is “[c]onsistent with” the President’s Foreign Aid Executive Order. Ex. A, Suspension Letter,

supra. But that Executive Order applies only to “foreign assistance.” “Foreign assistance,”

whatever its meaning, cannot plausibly include awards to an American non-profit for refugees

in the United States. Cf. 22 U.S.C. § 2394(b) (“foreign assistance” means aid provided “to a

foreign country or international organization”). That is particularly so because the statute under

which the government provides funding to USCCB refers to awards for refugee resettlement as

“domestic assistance.” 8 U.S.C. § 1522(a)(3) (emphasis added). At a minimum, the government

made no effort to explain how USCCB’s activities constitute “foreign assistance” or how the




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Refugee Funding Suspension otherwise would be “consistent with” the Foreign Aid Executive

Order.

         102.   The government’s second rationale for the Refugee Funding Suspension fares no

better. The government stated that USCCB’s cooperative agreements “may no longer effectuate

agency priorities,” but it did not explain what those priorities are. Ex. A, Suspension Letter,

supra. More problematic, the government did not explain why its agreements with USCCB may

no longer effectuate those priorities—a particularly glaring omission given that the government

has continuously funded USCCB’s refugee programs for decades. It is a basic precept of ad-

ministrative law that “conclusory statements” like these “do not meet the requirement that ‘the

agency adequately explain its result.’” Dickson v. Sec’y of Def., 68 F.3d 1396, 1407 (D.C. Cir.

1995).

         103.   The Refugee Funding Termination only contained a single rationale. The State

Department announced its conclusion that USCCB’s cooperative agreements “no longer effec-

tuate[] agency priorities” but provided zero explanation as to what priorities the State Depart-

ment considered or how its longstanding relationship with USCCB violated those objectives.

Ex. D, Ex. E, Termination Letters, supra. Nothing in the termination letters adequately explains

how the State Department reached its decision to terminate its partnership with USCCB.

         104.   To the extent that the Refugee Funding Suspension and Termination include an

unwritten refusal to reimburse pre-January 24 expenses incurred pursuant to USCCB’s cooper-

ative agreements, the government gave no rationale for this action. It simply stopped reimburs-

ing these expenses even though the written suspension letter and termination letters that USCCB

received explicitly contemplate their reimbursement.




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       105.    Third, in issuing the Refugee Funding Suspension and Termination, the govern-

ment also ignored its own regulations. “[A]n agency action may [also] be set aside as arbitrary

and capricious if the agency fails to comply with its own regulations.” Nat’l Env’t Dev. Ass’n’s

Clean Air Project v. Env’t Prot. Agency, 752 F.3d 999, 1009 (D.C. Cir. 2014) (citation and quo-

tation marks omitted).

       106.    The State Department has a regulation providing that “[p]ayments for allowable

costs [incurred under a Federal award] must not be withheld . . . unless required by Federal

statute, regulations, or” if the “recipient or subrecipient has failed to comply with the terms and

conditions of the Federal award” or is “delinquent in a debt.” 2 C.F.R. § 200.305(b)(6) (incor-

porated by reference into the State Department’s federal award regulations at 2 C.F.R.

§ 600.101). Another regulation states that reimbursements for services rendered under a federal

award must be paid “within 30 calendar days after receipt of the payment request” unless the

State Department “reasonably believes the request to be improper.” Id. § 200.305(b)(3).

       107.    Here, no statute or regulation requires the payments to USCCB to be withheld,

and the government has not asserted that USCCB has failed to comply with the terms of the

award or is delinquent in a debt. And even if the suspension letter theoretically allows reim-

bursements for “legitimate expenses” incurred prior to January 24, Ex. A, Suspension Letter,

supra, the Department’s Refugee Funding Suspension in fact includes an unwritten policy of

refusing to reimburse even those “allowable costs,” 2 C.F.R. § 200.305(b)(6). And more than

thirty days have passed without reimbursement with respect to at least two of the requests

USCCB submitted to the State Department, with more requests that will become past due in the

coming days.




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       108.    The government also violated its own regulations with respect to the Refugee

Funding Termination. The State Department’s regulations permit it to terminate a cooperative

agreement if it concludes that the “award no longer effectuates the program goals or agency

priorities,” but the Department may only effectuate such terminations “pursuant to the terms and

conditions” of the award and “to the extent authorized by law.” Id. § 200.340(a)(4).

       109.    The Refugee Funding Termination violates that regulation. Even if the State

Department made a reasoned decision that USCCB’s cooperative agreements “no longer effec-

tuate[]” its priorities, Ex. D, Ex. E, Termination Letters, supra, the terminations still violate the

agency’s regulations because they are not “authorized by law,” for the reasons already dis-

cussed, 2 C.F.R. § 200.340(a)(4). Terminating the cooperative agreements for initial-resettle-

ment services without establishing an alternative means to fulfill the State Department’s obli-

gations under the Refugee Act of 1980 violates that statute—not to mention the Impoundment

Control Act and the APA.

       110.    The government’s departure from its own regulations, without explanation, in-

dependently violates the APA.

       111.    For each of these reasons, the Refugee Funding Suspension and Termination are

arbitrary and capricious in violation of the APA. To the extent the government might argue that

the Rubio Memo or Foreign Aid Executive Order independently justify or require the Refugee

Funding Suspension, those actions are arbitrary and capricious for the same reasons.

       112.    The Refugee Funding Suspension and Termination, including the suspension of

reimbursements for pre-January 24 expenses and for ongoing expenses that USCCB incurs in

implementing the refugee-resettlement program under Section 1522, should be declared unlaw-

ful and set aside, as should the Rubio Memo to the extent it applies to USCCB. See 5 U.S.C.

§§ 702, 706. Defendants and all persons acting in concert with them should be enjoined from

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enforcing, implementing, or in any manner giving effect to the Refugee Funding Suspension

and Termination—and, to the extent they apply to USCCB, the Foreign Aid Executive Order

and Rubio Memo. See 5 U.S.C. § 705; Armstrong, 575 U.S. at 327.

                                     COUNT III
                             Administrative Procedure Act
                (Failure To Conduct Notice-And-Comment Rulemaking)

       113.    Plaintiff incorporates the preceding paragraphs by reference.

       114.    The Refugee Funding Suspension and Termination are also substantive rules is-

sued without the notice-and-comment procedures required by the APA. Before issuing a “sub-

stantive rule,” the Administrative Procedure Act commands agencies to publish a “[g]eneral

notice of proposed rule making” and “give interested persons an opportunity to participate in

the rule making.” 5 U.S.C. § 553. An agency’s failure to do so requires setting aside the

agency’s resulting action. See Kooritzky v. Reich, 17 F.3d 1509, 1514 (D.C. Cir. 1994).

       115.    The Refugee Funding Suspension and Termination are substantive rules because

they “alter the rights or interests of parties.” Nat’l Mining Ass’n v. McCarthy, 758 F.3d 243,

250 (D.C. Cir. 2014). Far from merely putting the public “on notice of pre-existing legal obli-

gations or rights” or adjudicating an individual’s rights “case-by-case” under pre-existing law,

the Refugee Funding Suspension and Termination have the legal effect of prospectively altering

the rights of refugees and resettlement organizations like USCCB to receive funding. Nat. Res.

Def. Council v. Wheeler, 955 F.3d 68, 83, 85 (D.C. Cir. 2020). The government therefore was

required to provide public notice and opportunity for comment before implementing this signif-

icant, prospective change.

       116.    The Refugee Funding Suspension and Termination thus violated the procedural

requirements of the APA. To the extent the government might argue that the Rubio Memo or

Foreign Aid Executive Order independently justify or require the Refugee Funding Suspension

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 or Termination, the Rubio Memo and agency actions implementing the Foreign Aid Executive

 Order are unlawful for the same reasons and should be set aside.

        117.   The Refugee Funding Suspension and Termination, including the suspension of

 reimbursements for pre-January 24 expenses and for ongoing expenses that USCCB incurs in

 implementing the refugee-resettlement program under Section 1522, should be declared unlaw-

 ful and set aside, as should the Rubio Memo to the extent it applies to USCCB. See 5 U.S.C.

 §§ 702, 706. Defendants and all persons acting in concert with them should be enjoined from

 enforcing, implementing, or in any manner giving effect to the Refugee Funding Suspension

 and Termination—and, to the extent they apply to USCCB, the Rubio Memo and Foreign Aid

 Executive Order. See 5 U.S.C. § 705; Armstrong, 575 U.S. at 327.

                                   PRAYER FOR RELIEF
WHEREFORE, Plaintiff requests that this Court:

        1.     Declare that the Refugee Funding Suspension and Refugee Funding Termination
               (and, to the extent they apply to USCCB, the Rubio Memo and actions implement-
               ing the Foreign Aid Executive Order) violate the Refugee Act of 1980, the Im-
               poundment Control Act, and the separation of powers; are arbitrary and capricious
               under the APA; and are substantive rules that did not comply with the procedural
               requirements of the APA;

        2.     Hold unlawful and set aside the Refugee Funding Suspension and Refugee Fund-
               ing Termination (and, to the extent it applies to USCCB, the Rubio Memo);

        3.     Enjoin—temporarily, preliminarily, and permanently—Defendants from taking
               any action enforcing or implementing against USCCB the Refugee Funding Sus-
               pension, Refugee Funding Termination, Rubio Memo, or Foreign Aid Executive
               Order;

        4.     Enjoin—temporarily, preliminarily, and permanently—Defendants from issuing
               or reissuing other letters or taking any other actions that have a materially similar
               effect;

        5.     Enjoin Defendants to comply with their statutory and regulatory obligations, in-
               cluding those under the Refugee Act of 1980 to provide initial-resettlement ser-
               vices to the refugees in USCCB’s programs;



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      6.        Award Plaintiff’s counsel reasonable attorneys’ fees under the Equal Access to
                Justice Act, and any other applicable statute or regulation; and

      7.        Award such other relief as this Court may deem just and proper.


March 3, 2025                                      Respectfully submitted,


                                                   /s/ David W. Casazza

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